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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION


IN RE:

ROI NEEMAN,                                          Case No.: 24-14482-BKC-PDR
                                                     Chapter 7
         Debtor.
                                                /

            TRUSTEE'S AGREED MOTION FOR EXTENSION OF
TIME TO FILE OBJECTIONS TO DISCHARGE FOR TRUSTEE AND U.S. TRUSTEE

         COMES NOW, the Trustee, Leslie S. Osborne, by and through undersigned counsel and

hereby files this Agreed Motion For Extension of Time to File Objections to Discharge for the

Trustee and the U.S. Trustee, and would state as follows:

         1.    The Debtor’s 341 meeting of creditors was held on June 11, 2024.

         2.    Subsequent thereto, the Trustee has been obtaining and reviewing documentation

requested at the 341 Meeting of Creditors and, further is setting a 2004 Examination for

September 12, 2024.

         3.    The Trustee wishes to complete his documentation review and Examination

before filing any objections to discharge.

         4.    The current deadline within which to file objections to discharge is August 12,

2024. Therefore, this motion is timely filed.

         5.    Due to the nature of this particular case the Trustee believes he needs an initial

extension of time within which to file any objections to discharge through September 30, 2024,

for both the Trustee and the U.S. Trustee.

         6.    The Trustee has contacted counsel for the Debtor who agreed to an extension of

the discharge deadline through September 30, 2024.
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         WHEREFORE, Trustee, Leslie S. Osborne, hereby requests this court grant him and the

U.S. Trustee an extension to file objections to discharge through September 30, 2024.

         I hereby certify that a true and correct copy of the foregoing was served via Electronic

and/or U.S. Mail, upon all parties set forth below this 6th day of August, 2024.

        I hereby certify that I am admitted to the Bar of the United States District Court for the Southern District of
Florida and I am in compliance with the additional qualifications to practice in this Court set forth in Local Rule
2090-1(A).

                                                           Leslie S. Osborne, Trustee
                                                           1300 N. Federal Hwy #203
                                                           Boca Raton, FL 33432
                                                           Telephone: (561) 368-2200
                                                           Email:
                                                           osbornetrustee@kennethrappaportlawoffice.com


                                                           By:_______/s/____________________
                                                              Leslie S. Osborne, TRUSTEE
                                                              FLORIDA BAR NO. 0823139



SERVICE LIST

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   Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov
   Leslie S Osborne osbornetrustee@kennethrappaportlawoffice.com, lo@trustesolutions.net
   David A Ray dray@draypa.com, draycmecf@gmail.com;simone.draypa@gmail.com
